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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

     JESSE LEE,

           Plaintiffs,

     v.                                                   Case No: 8:23-cv-2996-VMC-AEP

     CITY OF GULFPORT,

          Defendant.
     ___________________________________

           SECOND AMENDED CASE MANAGEMENT AND SCHEDULING ORDER

           Having considered the case management report prepared by the parties, see Fed.

     R. Civ. P. 26 (f), the Court enters this case management and scheduling order:

      Mandatory Initial Disclosures                                            COMPLETED

      Certificate of Interested Persons and Corporate Disclosure               COMPLETED
      Statement
      Motions to Add Parties or to Amend Pleadings                             COMPLETED

      Disclosure of Expert Reports                                             COMPLETED

      Discovery Deadline                                                   February 28, 2025

      Motions for Summary Judgment, Judgment on the                           March 28, 2025
      Pleadings, Daubert, and Markman Motions

      All Other Motions Including Motions In Limine                             June 2, 2025
      (MULTIPLE MOTIONS IN LIMINE ARE NOT FAVORED.
      ALL REQUESTS TO LIMIT EVIDENCE SHALL
      THEREFORE BE INCLUDED IN A SINGLE MOTION NOT
      TO EXCEED 25 PAGES WITHOUT LEAVE OF COURT.
      RESPONSES ARE LIMITED TO 20 PAGES WITHOUT
      LEAVE OF COURT.)
      Meeting In Person to Prepare Joint Final Pretrial Statement              June 30, 2025

      Joint Final Pretrial Statement (Including a Single Set of                 July 10, 2025
      Jointly Proposed Jury Instructions and Verdict Form, also
      sent to Chamber’s email
      [chambers_flmd_Covington@flmd.uscourts.gov] in Microsoft
      Word®, Witnesses Lists, Exhibit Lists on Approved Form)
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      Final Pretrial Conference                                                   July 17, 2025
                                                                                   at 9:00 a.m.
      Trial Term Begins                                                          August 4, 2025
                                                                                   at 9:00 a.m.
      Estimated Length of Trial                                                          5 days

      Jury/Non-Jury                                                                        Jury

      Mediation
                                                           Deadline:          February 19, 2025
                                                           Mediator:               Karl Brandes
      Designated Lead Counsel shall contact opposing
      counsel and the mediator to reserve a conference date
      and shall file a Notice with the Court within 7 days
      of the date of this Order advising of the date and time of the
      mediation conference.

      Designated Lead Counsel                       Attorney Name:                Marcy LaHart
      Pursuant to Local Rule 4.03(c)
      Lead Counsel                              Telephone Number:                 352-545-7001
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            The purpose of this order is to discourage wasteful pretrial activities, and to secure

     the just, speedy, and inexpensive determination of the action. See Fed. R. Civ. P. 1; Local

     Rule 1.01(a). This order controls the subsequent course of this proceeding. Fed. R. Civ.

     P. 16(b), (e). Counsel and all parties (both represented and pro se) shall comply with this

     order, with the Federal Rules of Civil Procedure, with the Local Rules of the United States

     District Court for the Middle District of Florida, and with the Administrative Procedures for

     Case Management/Electronic Case Filing. A copy of the Local Rules and Administrative

     Procedures may be viewed at http://www.flmd.uscourts.gov. Counsel shall also comply

     with the Ideals and Goals of Professionalism adopted by the Board of Governors of the

     Florida Bar on May 16, 1990 available at www.floridabar.org (Professional Practice-Henry

     Latimer Center for Professionalism); Local Rule 2.04(a).

     I.     DISCOVERY


            A.      Certificate of Interested Persons and Corporate Disclosure Statement
     – This Court has previously ordered each party, governmental party, intervenor, non-
     party movant, and Rule 69 garnishee to file and serve a Certificate of Interested Persons
     and Corporate Disclosure Statement using a mandatory form. No party may seek
     discovery from any source before filing and serving a Certificate of Interested Persons
     and Corporate Disclosure Statement. A motion, memorandum, response, or other paper
     – including emergency motion – may be denied or stricken unless the filing party has
     previously filed and served a Certificate of Interested Persons and Corporate Disclosure
     Statement. Any party who has not already filed and served the required certificate shall
     do so within the time required by this order, or sanctions will be imposed.

             B.     Limits on Discovery – Absent leave of Court, the parties may take no
     more than ten depositions per side (not per party). Fed. R. Civ. P. 30(a)(2)(A); Fed. R.
     Civ. P. 31(a)(2)(A). Absent leave of Court, the parties may serve no more than twenty-
     five interrogatories, including sub-parts. Fed. R. Civ. P. 33(a). Absent leave of the Court
     or stipulation by the parties, each deposition is limited to one day of seven hours. Fed. R.
     Civ. P. 30(d)(2). The parties may agree by stipulation on other limits on discovery within
     the context of the limits and deadlines established by this Case Management and
     Scheduling Order, but the parties may not alter the terms of this Order without leave of
     Court. See, e.g., Fed. R. Civ. P. 29.

            C.     Discovery Deadline – Each party shall timely serve discovery requests so
     that the Rules allow for a response prior to the discovery deadline. The Court may deny
     as untimely all motions to compel filed after the discovery deadline.
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             D.     Disclosure of Expert Testimony – On or before the date set forth in the
     above table for the disclosure of expert reports, the party shall fully comply with Fed. R.
     Civ. P. 26(a)(2) and 26(e). Expert testimony on direct examination at trial will be limited
     to the opinions, bases, reasons, data, and other information disclosed in the written
     expert report disclosed pursuant to this Order. Failure to disclose such information may
     result in the exclusion of all or part of the testimony of the expert witness.

            E.      Confidentiality Agreements – The parties may reach their own agreement
     regarding the designation of materials as “confidential.” There is no need for the Court to
     endorse the confidentiality agreement. The Court discourages unnecessary stipulated
     motions for a protective order. The Court will enforce stipulated and signed
     confidentiality agreements. See Local Rule 3.05. Each confidentiality agreement or
     order shall provide, or shall be deemed to provide, that “no party shall file a document
     under seal without first having obtained an order granting leave to file under seal on a
     showing of particularized need.” See also “Motions to File Under Seal” below.

     II.    MOTIONS

             A.     Certificate of Good Faith Conference – Before filing any motion in a civil
     case, the moving party shall confer with the opposing party in a good faith effort to
     resolve the issues raised by the motion, and shall file with the motion a statement
     certifying that the moving party has conferred with the opposing party, and that the
     parties have been unable to agree on the resolution of the motion. Local Rule 3.01(g);
     Fed. R. Civ. P. 26(c). A certification to the effect that opposing counsel was unavailable
     for a conference before filing a motion is insufficient to satisfy the parties' obligation to
     confer. See Local Rule 3.01(g). No certificate is required in a motion for injunctive relief,
     for judgment on the pleadings, for summary judgment, or to certify a class. Local Rule
     3.01(g). The term "movant" in Rule 3.01(g) includes pro se parties acting as their own
     counsel, thus requiring movants to confer with pro se parties and requiring pro se
     movants to file Rule 3.01(g) certificates. The term “confer” in Rule 3.01(g) requires a
     substantive conversation in person or by telephone in a good faith effort to resolve the
     motion without court action and does not envision an exchange of ultimatums by fax,
     letter or email. Movants who merely “attempt” to confer have not “conferred.” Parties
     must respond promptly to inquiries and communications from the opposing party. Board
     of Governors of the Florida Bar, Ideals and Goals of Professionalism, ¶ 6.10 and Creed
     of Professionalism ¶ 8 (adopted May 16, 1990), available at www.floridabar.org
     (Professional Practice-Henry Latimer Center for Professionalism.) The Court will deny
     motions that fail to include an appropriate, complete Rule 3.01(g) certificate.

            B.     Extension of Deadlines

           The deadlines established in this Case Management and Scheduling Order are
     not advisory but must be complied with absent approval of the Court.

                    1.      Dispositive Motions Deadline and Trial Not Extended – Motions
     to extend the dispositive motions deadline or to continue the trial are generally denied.
     The Court will grant an exception only when necessary to prevent manifest injustice. A
     motion for a continuance of the trial is subject to denial if it fails to comply with Local Rule
     3.08. The Court cannot extend a dispositive motion deadline to the eve of trial. In light of
     the district court’s heavy trial calendar, a period of at least four months is required before
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     trial to receive memoranda in opposition to a motion for summary judgment, and to
     research and resolve the dispositive motion.

                    2.     Extensions of Other Deadlines Disfavored – Motions for an
     extension of other deadlines established in this order, including motions for an extension
     of the discovery period, are disfavored. The deadline will not be extended absent a
     showing of good cause. Fed. R. Civ. P. 16(b); Local Rule 3.08(a). Failure to complete
     discovery within the time established by this Order shall not constitute cause for
     continuance. A motion to extend an established deadline normally will be denied if the
     motion fails to recite that: 1) the motion is joint or unopposed; 2) the additional discovery
     is necessary for specified reasons; 3) all parties agree that the extension will not affect
     the dispositive motions deadline and trial date; 4) all parties agree that any discovery
     conducted after the dispositive motions date established in this Order will not be available
     for summary judgment purposes; and 5) no party will use the granting of the extension in
     support of a motion to extend another date or deadline.

            The filing of a motion for extension of time does not toll the time for compliance
     with deadlines established by Rule or Order.

             C.    Motions to File Under Seal – Whether documents filed in a case may be
     filed under seal is a separate issue from whether the parties may agree that produced
     documents are confidential. Motions to file under seal are disfavored, and such motions
     will be denied unless they comply with Local Rule 1.11.

             D.     Memoranda in Opposition – Each party opposing any written motion,
     except a motion for summary judgment under Section II H below, shall file and serve,
     within the deadline set by Local Rule 3.01(c), a legal memorandum with citation of
     authorities in opposition to the relief requested. Local Rule 3.01(b)-(c). Where no
     memorandum in opposition has been filed, the Court routinely grants the motion as
     unopposed. Motions titled as “unopposed” or “agreed” normally come to the Court’s
     attention prior to the deadline for response.

             E.     Emergency Motions – The Court may consider and determine emergency
     motions at any time. Local Rule 3.01(e). Counsel should be aware that the designation
     “emergency” may cause a judge to abandon other pending matters in order to
     immediately address the “emergency.” The Court will sanction any counsel or party who
     designates a motion as “emergency” under circumstances that are not a true emergency.
     It is not an emergency when counsel has delayed discovery until the end of the discovery
     period. Promptly after filing an emergency motion, counsel shall place a telephone call to
     the chambers of the presiding judge to notify the court that an emergency motion has
     been filed.

              F.     Page Limits - No party shall file a motion and supporting memorandum in
     excess of twenty-five pages. Local Rule 3.01(a). No party shall file an opposing brief or
     memorandum in excess of twenty pages. Local Rule 3.01(b). A motion requesting leave
     to file either a motion in excess of twenty-five (25) pages, a response in excess of twenty
     (20) pages, or a reply or further memorandum shall not exceed three (3) pages, shall
     specify the length of the proposed filing, and shall not include, as an attachment or
     otherwise, the proposed motion, response, reply, or other paper. Local Rule 3.01(a), (b),
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     (d). Motions for relief from page limitations are disfavored and will not be granted without
     a specific showing of good cause.

             G.     Motions for Summary Judgment : Required Materials – A motion for
     summary judgment shall specify the material facts as to which the moving party contends
     there is no genuine issue for trial, and shall include a memorandum of law, and shall be
     accompanied by affidavits and other evidence in the form required by Fed. R. Civ. P. 56.
     The motion for summary judgment and supporting memorandum of law shall be
     presented in a single document of not more than twenty-five pages. Local Rule 3.01(a).
             Each party opposing a motion for summary judgment shall serve, within twenty-
     one days after being served with such motion, a legal memorandum with citation of
     authorities in opposition to the relief requested as required by Local Rule 3.01(b) of not
     more than twenty pages. The memorandum in opposition shall specify the material facts
     as to which the opposing party contends there exists a genuine issue for trial, and shall
     be accompanied by affidavit(s) and other evidence in the form required by Fed. R. Civ. P.
     56.
             Both the movant and the party opposing summary judgment shall provide pinpoint
     citations to the pages and lines of the record supporting each material fact. General
     references to a deposition are inadequate. On or before the date on which the
     memorandum in opposition is due, the parties may also file a stipulation of agreed
     material facts signed by the movant and the parties opposing summary judgment.
     Material facts set forth in the stipulation will be deemed admitted for the purposes of the
     motion.

           H.       Daubert and Markman Motions – On or before the date established in the
     above table for the filing of motions for summary judgment, any party seeking a ruling
     pursuant to Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993)
     (admissibility of expert opinions) or pursuant to Markman v. Westview Instruments, Inc.,
     517 U.S.370 (1996) (interpretation of a patent claim) shall file and serve an appropriate
     motion. The parties shall prepare a glossary of technical or scientific terms where
     appropriate for the Court.

             I.     All Other Motions Including Motions In Limine – On or before the date
     established in the above table, the parties shall file and serve all other motions including
     motions in limine. Local Rule 3.01(g) applies, and the parties shall confer to define and
     limit the issues in dispute.

     III.    JOINT FINAL PRETRIAL STATEMENT

            A.     Meeting In Person – On or before the date established in the above table,
     lead trial counsel for all parties and any unrepresented parties shall meet together in
     person pursuant to Local Rule 3.06(a) in a good faith effort to:

                   1.     settle the case; the parties shall thoroughly and exhaustively discuss
     settlement of the action before undertaking the extensive efforts needed to conduct final
     preparation of the case for trial and to comply with the requirements of this order;

                   2.     discuss the efficient presentation of the evidence and the duration of
     the trial;
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                    3.    stipulate to as many facts and issues as possible; in order to assist
     the Court, the parties shall make an active and substantial effort to stipulate at length and
     in detail as to agreed facts and law, and to limit, narrow, and simplify the issues of fact
     and law that remain contested; as a rule, parties who have complied with this
     requirement in good faith will file a Joint Final Pretrial Statement listing far more agreed
     facts and principles of law than those that remain for determination at trial;

                    4.     tag, mark, identify, examine, copy, and list all original trial exhibits
     (including actual document exhibits) that any party will offer in evidence or otherwise
     tender to any witness during trial [Local Rule 3.06(a)(4) and 3.07(a)] (instructions for pre-
     marking of exhibits attached to this order); and prepare and exchange a final exhibit list
     on the Clerk’s approved form (attached to this order) bearing a description identifying
     each exhibit and sponsoring witness [Local Rule 3.07(b)]; it is anticipated that counsel will
     agree to the admission of the bulk of the opposing parties’ exhibits without objection and
     shall designate on the exhibit list the exhibits which the Court may admit without objection
     at trial. Absent good cause, the Court will not receive in evidence over objection any
     exhibits – including charts, diagrams, and demonstrative evidence – not presented to
     opposing counsel or unrepresented parties for inspection and copying at the required
     meeting or not listed in the joint final pretrial statement. Photographs of sensitive exhibits
     (i.e., guns, drugs, valuables) and of non-documentary evidence, and reductions of
     documentary exhibits larger than 8 ½” by 14” to be substituted for original exhibits after
     conclusion of the trial must be presented to opposing counsel for examination at the
     meeting to prepare the Joint Final Pretrial Statement. Objections to such photographs or
     reductions of exhibits must be listed in the Joint Final Pretrial Statement. The parties are
     directed to contact the trial judge’s courtroom deputy clerk to discuss exhibits and
     equipment to be used during trial; and

                 5.      exchange the names, telephone numbers, and addresses of all
     witnesses and state whether they will likely be called.

            B.     The Joint Final Pretrial Statement

                    1.     Form of Joint Final Pretrial Statement – On or before the date
     established in the above table, the parties shall file a Joint Final Pretrial Statement that
     strictly conforms to the requirements of Local Rule 3.06(b) and this Order. This case
     must be fully ready for trial at the time that the Joint Final Pretrial Statement is due.
     Anticipated length of trial based on issues remaining at the time of the pretrial conference
     must be included as a separate line item in the parties Joint Final Pretrial Statement.
     Lead trial counsel for all parties, or the parties themselves if unrepresented, shall sign the
     Joint Final Pretrial Statement. Sanctions may be imposed for failure to comply, including
     the striking of pleadings. The Joint Final Pretrial Statement will govern the trial. Local
     Rule 3.06(b).

                     2.    Exhibit List – The exhibit list filed in compliance with Local Rules
     3.06(b)(4) and 3.07(b) must be on the Clerk’s approved form (attached to this order).
     Unlisted exhibits will not be received into evidence at trial, except by order of the Court in
     the furtherance of justice. The Joint Final Pretrial Statement must attach each party’s
     exhibit list on the approved form listing each specific objection (“all objections reserved”
     does not suffice) to each numbered exhibit that remains after full discussion and
     stipulation. Objections not made – or not made with specificity – are waived.
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                     3.     Witness List – On the witness list required by Local Rule 3.06(b)(5),
     the parties and counsel shall designate which witnesses will definitely be called, and also
     designate which witnesses may be called. Absent good cause, the Court will not permit
     over objection testimony from unlisted witnesses at trial. This restriction does not apply
     to true rebuttal witnesses (i.e., witnesses whose testimony could not reasonably have
     been foreseen to be necessary). Records custodians may be listed but will not likely be
     called at trial, except in the rare event that authenticity or foundation is contested. For
     good cause shown in compelling circumstances, the Court may permit presentation of
     testimony in open court by contemporaneous transmission from a different location.
     Fed.R.Civ.P. 43(a).

                     4.    Depositions – The Court encourages stipulations of fact to avoid
     calling unnecessary witnesses. Where a stipulation will not suffice, the Court permits the
     use of depositions. At the required meeting, counsel and unrepresented parties shall
     agree upon and specify in writing in the Joint Final Pretrial Statement the pages and lines
     of each deposition (except where used solely for impeachment) to be published to the
     trier of fact. The parties shall include in the Joint Final Pretrial Statement a page-and-line
     description of any testimony that remains in dispute after an active and substantial effort
     at resolution, together with argument and authority for each party’s position. The parties
     shall prepare for submission and consideration at the final pretrial conference or trial an
     edited and marked copy (as to the portion offered by each party) of any deposition or
     deposition excerpt which is to be offered in evidence.

            Five (5) days prior to trial, the parties shall file with the Court color-coded copies of
     deposition transcripts (preferably mini-script versions), reflecting, in different highlighted
     colors, the deposition excerpts designated by each party to be read at trial, with
     objections noted in the margin. Unresolved objections to videotape depositions shall be
     submitted to the Court ten (10) days prior to trial.

                    5.      Joint Jury Instructions, Verdict Form, Voir Dire Questions – In
     cases to be tried before a jury, the parties shall attach to the Joint Final Pretrial
     Statement a single jointly-proposed set of jury instructions in order of presentation
     to the jury, together with a single jointly-proposed jury verdict form. The parties should
     be considerate of their jury, and therefore should submit short, concise special verdict
     forms. The Court prefers pattern jury instructions approved by the United States Court of
     Appeals for the Eleventh Circuit. A party may include at the appropriate place in the
     single set of jointly-proposed jury instructions a contested charge, so designated with the
     name of the requesting party and bearing at the bottom a citation of authority for its
     inclusion, together with a summary of the opposing party’s objection. The Court will deny
     outright a proposed instruction that is “slanted” in any way. The Court requires that the
     parties, send to the Chamber's email [chambers_flmd_covington@flmd.uscourts.gov] the
     single set of jury instructions and verdict form, in Microsoft Word®. The parties
     may include in the Joint Final Pretrial Statement a single list of jointly-proposed questions
     for the Court to ask the venire during voir dire.

             C.     Coordination of Joint Final Pretrial Statement – All parties are
     responsible for filing a Joint Final Pretrial Statement in full compliance with this order.
     Plaintiff’s counsel (or plaintiff if all parties are proceeding pro se) shall have the primary
     responsibility to coordinate compliance with the sections of this order that require a
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     meeting of lead trial counsel and unrepresented parties in person and the filing of a Joint
     Final Pretrial Statement and related material. See Local Rule 3.10 (relating to failure to
     prosecute). If the plaintiff is proceeding pro se, defense counsel shall coordinate
     compliance. If counsel is unable to coordinate such compliance, counsel shall timely
     notify the Court by written motion or request for a status conference.

           D.    Trial Briefs, Proposed Findings of Fact and Conclusions of Law, and
     Exhibit Notebooks

                   Trial Briefs – Unless the Court specifically directs otherwise, Trial Briefs
     are not required in any civil case. If a party chooses to file a Trial Brief, such Trial Brief
     may be filed anytime, until and including the date of trial.

                     Proposed Findings of Fact and Conclusions of Law – In the case of a
     non-jury trial, the parties are directed to file Proposed Findings of Fact and Conclusions
     of Law after the trial. The due date will be specified by the Court at the Final Pretrial
     Conference, and will usually fall between 30 and 60 days after the conclusion of the trial
     depending on the Court Reporter’s schedule. Proposed Findings of Fact and
     Conclusions of Law should contain citations to the record.

                    Exhibit Notebook – On the first day of a jury trial or non-jury trial, the
     parties shall provide to the Court a bench notebook containing marked copies of all
     exhibits. The parties may contact the courtroom deputy clerk for the trial judge to
     determine whether this requirement may be waived.

     IV.    MEDIATION

            A.      Purpose – To minimize costly pretrial procedures in a case that may be
     equitably settled, and to secure the just, speedy, and inexpensive determination of this
     action, all parties shall participate in good faith in mediation. See Fed.R.Civ.P. 1;
     Fed.R.Civ.P. 16(a)(5); Local Rules 1.01(a), 4.01.

             B.      The Mediator – This Court prefers to appoint the certified and approved
     mediator, if any, chosen by the parties in their Case Management Report. The mediator
     shall conduct the mediation conference in the conference room of the mediator’s law firm
     or office at a time and date selected by the mediator within the confines of this order.

            C.      Last Date to Mediate – The parties shall complete the mediation
     conference on or before the mediation date set forth earlier in the above table. Neither
     the mediator nor the parties have authority to continue the mediation conference beyond
     this date except on express order of the Court. In any complex case or case involving
     multiple parties, the mediator has the authority to conduct the mediation in a series of
     sessions and in groups of parties so that mediation is complete by the last date to
     mediate.

            D.    Mediator’s Authority – The mediator shall have all powers and authority to
     conduct a mediation and to settle this case as are described in Chapter Four of the Local
     Rules, except as limited by this order. The mediation shall continue until adjourned by
     the mediator. In order to coordinate the mediation conference, the mediator may set an
     abbreviated scheduling conference prior to the scheduled mediation. At such time, the
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      mediator may designate one or more coordinating attorneys who shall be responsible for
      conferring with the mediator regarding the mediation conference. If necessary, the
      coordinating attorney may coordinate the rescheduling of a mediation conference within
      the time allowed in this order.

             E.     General Rules Governing Mediation Conference

                    1.    Case Summaries – Not less than two business days prior to the
      mediation conference, each party shall deliver to the mediator a written summary
      of the facts and issues of the case.

                    2.      Identification of Corporate Representative – As part of the written
      case summary, counsel for each corporate party shall state the name and general job
      description of the employee or agent who will attend and participate with full authority to
      settle on behalf of the corporate party.

                     3.     Attendance Requirements and Sanctions – Each attorney acting
      as lead trial counsel, and each party (and in the case of a corporate party, a corporate
      representative) with full authority to settle, shall attend and participate in the mediation
      conference. In the case of an insurance company, the term “full authority to settle”
      means authority to settle for the full value of the claim or policy limit. The Court will
      impose sanctions upon lead counsel and parties who do not attend and participate in
      good faith in the mediation conference.

                   4.     Personal Attendance Required – All counsel, parties, corporate
      representatives, and any other required claims professionals shall be present at the
      Mediation Conference with full authority to negotiate a settlement. See Local Rule
      4.03(d). The Court does not allow mediation by telephone or video conference. Personal
      attendance is required.

                    5.     Authority to Declare Impasse – Participants shall be prepared to
      spend as much time as may be necessary to settle the case. No participant may force
      the early conclusion of a mediation because of travel plans or other engagements. Only
      the mediator may declare an impasse or end the mediation.

                    6.      Restrictions on Offers to Compromise – Evidence of an offer to
      compromise a claim is not admissible to prove liability for or invalidity of the claim or its
      amount. Fed. R. Evid. 408 (includes evidence of conduct or statements made in
      compromise negotiations). All discussion, representations and statements made at the
      mediation conference are privileged settlement negotiations. Except in a supplemental
      proceeding to enforce a settlement agreement, nothing related to the mediation
      conference shall be admitted at trial or be subject to discovery. Local Rule 4.03(g); Fed.
      R. Evid. 408. A communication between a party and a mediator during a private caucus
      is also confidential, unless the party tells the mediator that it is not.

             F.     Compensation of Mediators – Absent agreement of the parties and the
      mediator, mediators shall be compensated at a reasonable hourly rate provided by order
      of the Court after consideration of the amount in controversy, the nature of the dispute,
      the resources of the parties, the prevailing market rate for mediators in the applicable
      market, the skill and experience of the mediator, and other pertinent factors. Unless
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      altered by order of the Court, the cost of the mediator's services shall be borne equally by
      the parties to the mediator conference.

             G.     Settlement and Report of Mediator – A settlement agreement reached
      between the parties shall be reduced to writing and signed by the parties and their
      attorneys in the presence of the mediator. Within twenty-four hours of the conclusion
      of the mediation conference, the mediator shall file and serve a written mediation
      report stating whether all required parties were present, whether the case settled,
      and whether the mediator was forced to declare an impasse. The mediator may
      report any conduct of a party or counsel that falls short of a good faith effort to resolve the
      case by agreement or fails to comply with this Order. See Local Rule 4.03.

      V.     FINAL PRETRIAL CONFERENCE

              A.   Lead Trial Counsel and Parties – If a final pretrial conference is set, lead
      trial counsel and local counsel for each party, together with any unrepresented
      party, must attend in person unless previously excused by the Court. See
      Fed.R.Civ.P. 16(d).

             B.       Substance of Final Pretrial Conference – Since this case must be fully
      ready for trial at the time that the Joint Final Pretrial Statement is due, at the final pretrial
      conference, all counsel and parties must be prepared and authorized to accomplish the
      purposes set forth in Fed.R.Civ.P. 16 and Local Rule 3.06, including formulating and
      simplifying the issues; eliminating frivolous claims and defenses; admitting facts and
      documents to avoid unnecessary proof; stipulating to the authenticity of documents;
      obtaining advance rulings from the Court on the admissibility of evidence; settling the
      dispute; disposing of pending motions; establishing a reasonable limit on the time allowed
      for presenting evidence; and such other matters as may facilitate the just, speedy, and
      inexpensive disposition of the action. See Fed.R.Civ.P. 16(c)-(d).

      VI.     SANCTIONS – The Court will impose sanctions on any party or attorney: 1) who
      fails to attend and to participate actively in the meeting to prepare the Joint Pretrial
      Statement, or who refuses to sign and file the agreed document; 2) who fails to attend the
      Final Pretrial Conference, or who is substantially unprepared to participate; 3) who fails to
      attend the mediation and actively participate in good faith, or who attends the mediation
      without full authority to negotiate a settlement, or who is substantially unprepared to
      participate in the mediation; or 4) who otherwise fails to comply with this order. Sanctions
      may include but are not limited to an award of reasonable attorney's fees and costs, the
      striking of pleadings, the entry of default, the dismissal of the case, and a finding of
      contempt of court. See Fed.R.Civ.P. 16(f) and 37; Local Rules 4.03(d), (e); 28 U.S.C. §
      1927.

      VII.   TRIAL

             A.     Trial Before District Judge – A case scheduled for trial before a United
      States District Court Judge normally will be called for trial during the scheduled trial term.
      Cases not reached for trial in the month scheduled will be carried over to the following
      month on a trailing trial calendar, and issued subpoenas will continue in force.
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             B.       Trial Before Magistrate Judge – A case scheduled for trial before a United
      States Magistrate Judge will be called for trial on a date certain. With respect to a civil
      case that remains pending before a District Judge as of the date of this order, the United
      States District Judges of the Middle District of Florida wish to afford the parties the
      opportunity to consent to proceed before a Magistrate Judge. Consent must be
      unanimous. A United States Magistrate Judge is available pursuant to 28 U.S.C. § 636©
      and Fed.R.Civ.P. 73(a) to conduct all further proceedings in this case (or specified
      motions in this case), to conduct a jury or non-jury trial beginning on a date certain, and
      to enter final judgment. A party may appeal a final judgment of a Magistrate Judge to the
      United States Court of Appeals for the Eleventh Circuit in the same manner as an appeal
      from the district court. 28 U.S.C. § 636(c)(3); Fed.R.Civ.P. 73. A party is free to
      withhold consent without adverse substantive consequences. 28 U.S.C. § 636 (c)(2);
      Fed.R.Civ.P. 73(b). Consent forms are attached to this scheduling order. Fed.R.Civ.P.
      73(b).

              C.    Settlement – Counsel shall immediately notify the Court upon settlement or
      resolution of any case, even if the resolution is contingent or unwritten. Local Rule
      3.09(a). The parties shall notify the Court of any settlement or other disposition of the
      case which will eliminate the need for a jury by 11:30 a.m. on the last business day
      before the date scheduled for jury selection. Failure to do so will subject each party to
      joint and several liability for jury costs. Regardless of the status of settlement
      negotiations, the parties shall appear for all scheduled hearings, including the Final
      Pretrial Conference and for trial absent the filing of a stipulation of dismissal signed by all
      parties who have appeared in the action (or notice of dismissal if prior to answer and
      motion for summary judgment). Fed.R.Civ.P. 41(a).

             D.     Electronic Equipment – The parties are advised (and should advise their
      witnesses) that photo identification is required to enter the United States Courthouse.
      Parties and witnesses are not permitted to bring into the Courthouse a personal
      electronic device.

                     By court order dated September 26, 2013, any attorney permitted to
      practice law in the Middle District of Florida may bring any personal electronic device
      beyond the courthouse’s security checkpoint by presenting a valid Florida Bar
      identification card or by pro hac vice order. See attached order for guidelines.

             DONE and ORDERED in Tampa, Florida on this 6th day of February, 2025.
Case 8:23-cv-02996-VMC-AEP       Document 70      Filed 02/06/25    Page 13 of 20 PageID 566



      Attachments: Magistrate Judge Consent / Entire Case
                   Magistrate Judge Consent / Specified Motions
                   Exhibit List Form [mandatory form]
                   Order on Possession and Use of Personal Electronic Devices in Federal
                   Courthouses in the Middle District of Florida

      Copies to:   All Counsel of Record
   Case 8:23-cv-02996-VMC-AEP                        Document 70               Filed 02/06/25       Page 14 of 20 PageID 567
AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                   UNITED STATES DISTRICT COURT
                                                                     for the
                                                         Middle District of Florida

                         JESSE LEE,                                      )
                             Plaintiffs                                  )
                           v.                                            )     Civil Action No.       8:23-cv-02996-VMC-AEP
                   CITY OF GULFPORT                                      )
                            Defendant                                    )


           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

        Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to
conduct all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment.
The judgment may then be appealed directly to the United States court of appeals like any other judgment of this
court. A magistrate judge may exercise this authority only if all parties voluntarily consent.

       You may consent to have your case referred to a magistrate judge, or you may withhold your consent
without adverse substantive consequences. The name of any party withholding consent will not be revealed to
any judge who may otherwise be involved with your case.

         Consent to a magistrate judge’s authority. The following parties consent to have a United States
magistrate judge conduct all proceedings in this case including trial, the entry of final judgment, and all post-
trial proceedings.

           Parties’ printed names                              Signatures of parties or attorneys                        Dates




                                                             Reference Order
       IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings
and order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.


Date:
                                                                                            District Judge’s signature




                                                                                             Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a
United States magistrate judge. Do not return this form to a judge.
  Case 8:23-cv-02996-VMC-AEP                        Document 70              Filed 02/06/25          Page 15 of 20 PageID 568
AO 85A (Rev. 01/09) Notice, Consent, and Reference of a Dispositive Motion to a Magistrate Judge


                                  UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Middle District of Florida

                        JESSE LEE                                       )
                            Plaintiff
                               s                                        )
                          v.                                            )       Civil Action No. 8:23-cv-02996-VMC-AEP
                  CITY OF GULFPORT                                      )
                          Defendant                                     )

    NOTICE, CONSENT, AND REFERENCE OF A DISPOSITIVE MOTION TO A MAGISTRATE JUDGE

        Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to
conduct all proceedings and enter a final order dispositive of each motion. A magistrate judge may exercise
this authority only if all parties voluntarily consent.

        You may consent to have motions referred to a magistrate judge, or you may withhold your consent
without adverse substantive consequences. The name of any party withholding consent will not be revealed
to any judge who may otherwise be involved with your case.

       Consent to a magistrate judge’s consideration of a dispositive motion. The following parties consent to
have a United States magistrate judge conduct any and all proceedings and enter a final order as to each
motion identified below (identify each motion by document number and title).

                Motions:




          Parties’ printed names                            Signatures of parties or attorneys                               Dates




                                                            Reference Order

      IT IS ORDERED: The motions are referred to a United States magistrate judge to conduct all
proceedings and enter a final order on the motions identified above in accordance with 28 U.S.C. § 636(c).

Date:
                                                                                                   District Judge’s signature


                                                                                                    Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a
United States magistrate judge. Do not return this form to a judge.
   Case 8:23-cv-02996-VMC-AEP                 Document 70          Filed 02/06/25       Page 16 of 20 PageID 569




                                           EXHIBIT LIST
                               Plaintiff                  Defendant                Joint

                               Government                 Court


                      Case No.                    8:23-cv-02996-VMC-AEP
                      Style:               Lee v. City of Gulfport


 Exhibit       Date                 Date                Sponsoring            Objections /               Description
 No.           Identified           Admitted            Witnesses             Stipulated                 of Exhibit
                                                                              Admissions 1




        1 Use a code (e.g. “A” or “*”) in this column to identify exhibits to be received in evidence by agreement without

objections. Otherwise, specifically state each objection to each opposed exhibit. Please note that each date box on the
left must be one inch wide to accommodate the Clerk’s stamp.
Case 8:23-cv-02996-VMC-AEP   Document 70   Filed 02/06/25   Page 17 of 20 PageID 570
Case 8:23-cv-02996-VMC-AEP   Document 70   Filed 02/06/25   Page 18 of 20 PageID 571
Case 8:23-cv-02996-VMC-AEP   Document 70   Filed 02/06/25   Page 19 of 20 PageID 572
Case 8:23-cv-02996-VMC-AEP   Document 70   Filed 02/06/25   Page 20 of 20 PageID 573
